          Case 2:08-cr-00453-KJM-KJN Document 33 Filed 11/25/08 Page 1 of 2


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)731-4841
     Email: Rusklaw@aol.com
 4

 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 08-453 LKK
     United States of America,           )
 9                                       ) ORDER RE WAIVER OF DEFENDANT’S
                Plaintiff,               ) PRESENCE
10                                       ) [Fed.R.Crim. Pro. 43]
          vs.                            )
11                                       ) Court: Hon. Judge Lawrence K.
                                         ) Karlton
12   Dean Tesky,                         )
                                         )
13              Defendant
14

15

16        Mr. Dean Tesky hereby waives the right to be present in person in
17   open Court upon the hearing of any motion or other proceeding in this
18   case, including, but not limited to, when the case is ordered set for
19   trial, when a continuance is ordered, and when any other action is
20   taken by the court before or after trial, except upon arraignment,
21   initial appearance, plea, trial confirmation hearing, impanelment of
22   jury, every trial stage including verdict, and imposition of sentence.
23   The defendant hereby requests the Court to proceed during every
24   absence of his which the Court may permit pursuant to this waiver,
25   agrees that his interests will be deemed represented at all times by
26   the presence of his attorney the same as if he were personally
27   present, and further agrees to be present in Court and ready for trial
28   any day and hour the Court may fix in his absence.




                                         -1-
          Case 2:08-cr-00453-KJM-KJN Document 33 Filed 11/25/08 Page 2 of 2



 1              The defendant further acknowledges that he has been

 2   informed of his rights under 18 U.S.C. § 3161 – 3174 (the Speedy Trial

 3   Act), and authorizes his attorney to set times and delays under that

 4   act without his being present.    The reason for this request is that

 5   Mr. Tesky is currently working and residing in Arkansas.     With the

 6   Court’s permission, Mr. Tesky respectfully requests that this Court

 7   accept his waiver of appearance when the statute deems his presence

 8   inessential and this Court consents.

 9
     Dated: November 24, 2008          Respectfully submitted,
10

11

12
                                       __/s/ Shari Rusk___
                                       Shari Rusk
13                                     Attorney for Defendant
                                       Dean Tesky
14

15
                                       /s/ Dean Tesky
16                                     Dean Tesky
17
                                       ORDER
18

19
          IT IS SO ORDERED.
20
     DATED: November 24, 2008
21

22

23

24

25

26

27

28




                                         -2-
